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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF KENTUCKY
                       COVINGTON DIVISION


State of Tennessee; Commonwealth
of Kentucky; State of Ohio; State of
Indiana; Commonwealth of
Virginia; and State of West Virginia,

            Plaintiffs,

and

Christian Educators Association                Case No. 2:24-cv-00072-DCR-CJS
International; A.C., by her next friend
and mother, Abigail Cross,

            Intervenor-Plaintiffs,

      v.

Miguel Cardona, in his official
capacity as Secretary of Education; and
United States Department of
Education,

           Defendants.


               PROOF OF SERVICE ON MIGUEL CARDONA




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                                     ID#: 1739



      I, Julie Peterson, do solemnly swear that the facts set forth below are true to

the best of my personal knowledge:

1.    I am a senior paralegal for Alliance Defending Freedom.

2.    The following documents were served on The Honorable Miguel Cardona,

      Secretary of the United States Department of Education, in his official

      capacity via certified mail on May 3, 2024:


      •      Motion to Intervene and Memorandum in Support; Proposed Order;
             Proposed Complaint; Exhibit List with Exhibits A-H; and Corporate
             Disclosure Statement.
      •      Motion for Pro Hac Vice Admission of Jonathan A. Scruggs with
             attached Exhibit A and Proposed Order;
      •      Motion for Pro Hac Vice Admission of Henry W. Frampton, IV with
             attached Exhibit A and Proposed Order;
      •      Motion for Pro Hac Vice Admission of Rachel A. Rouleau with attached
             Exhibit A and Proposed Order; and
      •      Motion for Pro Hac Vice Admission of Natalie D. Thompson with
             attached Exhibit A and Proposed Order;

3.    Confirmation of service is attached as Exhibit 1.


      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.



      Dated: May 31, 2024.



                                       s/ Julie Peterson
                                       Julie Peterson
                                       Alliance Defending Freedom
                                       15100 N. 90th Street
                                       Scottsdale, Arizona 85260



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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 31, 2024, a copy of the foregoing Proof of Service

was filed with the Clerk of Court using the CM/ECF system. I further certify that the

foregoing document was served using the CM/ECF system on all counsel of record.



      Respectfully submitted this 31st day of May, 2024.



                                       s/ Rachel A. Rouleau
                                       Rachel A. Rouleau (Virginia Bar No. 97783)
                                       Alliance Defending Freedom
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                        Co-Counsel for Intervenor-Plaintiffs




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